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January 31, 2022

Regarding: Jake Peart

To Whom It May Concern:

I have known Jake Peart for more than 10 years, and I write this letter based on my personal
experiences with him. He has always been professional, honest, and a model citizen of our
community. I recognize the charges against him, but I am confident he will never repeat any
behavior that is remotely similar.

I am an attorney by trade, and I have served as an arbitrator and mediator for over 300 cases. I
have been active civically nearly my entire career. I served on the Las Vegas Planning
Commission, Toquerville City Planning Commission, and the Toquerville City Council (for six
years). I am now serving as Mayor of Toquerville.

I met Mr. Peart about 10 years ago. He has a wonderful wife and some incredible sons. I have
seen Mr. Peart interact with his family and our community. I have only seen positive and
supportive behavior. He shows genuine concern for others, he quickly volunteers to help
wherever needed, and he involves his family and others when serving our community and its
citizens. I have seen only exemplary and ideal behavior, which leads me to the absolute and
confident opinion that Mr. Peart is a model citizen.

We need more people like Mr. Peart in our communities. He volunteers more of his time than
the vast majority of people in our City. He wants to see our community safer and better for all.
That desire is admired, and I am grateful he lives in Toquerville.

Mr. Peart has been open and candid with me about the charges against him. I know Mr. Peart
personally, and I know he will not engage in any similar behavior again. Consequently it will be
a waste of taxpayer money to do anything other than place him on probation. Even then, it is
my opinion that a lengthy probation is unnecessary because he has learned from this
experience.

I recognize that my personal friendship with Mr. Peart may taint my opinion. However, doing
my best to separate my personal feelings from my honest evaluation of Mr. Peart, I still come to
the conclusion that Mr. Peart is a model citizen, and any punishment should be the lightest
possible. I thank you for your time and consideration.


                                                    Sincerely,


                                                    Keen Ellsworth


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                                     EXHIBIT A, p. 2
